     Case 1:09-cr-00454-CAP-ECS Document 206 Filed 10/17/12 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


MARIA BEHAR,
BOP NO. 61352-19,

             Movant,                          CRIMINAL ACTION NO.
                                              1:09-CR-0454-CAP
                                              CIVIL ACTION NO.
      v.                                      1:11-CV-0633-CAP

UNITED STATES OF AMERICA,

             Respondent.


                                  ORDER

      This action is before the court on the magistrate judge’s report and

recommendation (“R&R”) [Doc. No. 204]. There are no objections by the

movant. Finding no error in the R&R, it is adopted as the opinion and order

of this court.

      SO ORDERED, this 17th day of October, 2012.


                                          /s/ Charles A. Pannell, Jr.
                                          CHARLES A. PANNELL JR.
                                          United States District Judge
